         Case 7:21-cr-01772 Document 262 Filed on 11/09/21 in TXSD Page 1 of 3




                                           UNITED STATES DISTRICT COURT
                                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                                 MCALLEN DIVISION

UNITED STATES OF AMERICA                                      §

VS.                                                           §      CAUSE NO. 7:21-cr-1772-12

JOSE DIAZ                                                     §


                    DEFENDANT’S REPLY TO THE GOVERNMENT’S APPEAL
                        OF THE MAGISTRATE’S ORDER OF RELEASE

TO THE HONORABLE RANDY CRANE, DISTRICT JUDGE:

             Comes now Defendant, JOSE DIAZ, by and through the undersigned attorney,

Reynaldo M. Merino, and hereby replies to the Government’s Appeal to the District Court

of the Magistrate’s Order of Release and Motion For A Stay of the Magistrate’s Order of

Release (Dkt #260).

             In its appeal, the Government first outlines its perspective on the weight of the

evidence with a “Statement of the Case” that proffers evidence of the defendant’s

involvement in a cocaine case (Count 7, the defendant’s sole substantive count) and a

State marihuana case. The defendant generally agrees with the proffer, but would clarify

as follows:

             (1)           By proffer at the detention hearing and based on the Government’s appeal,

                           the defendant is accused of agreeing to receive 5-6 kilos of cocaine that

                           were intercepted by law enforcement and not received by the defendant.

             (2)           In regard to the State Marihuana case, it has been dismissed. Attached


D efendant's R eply to G ovt Appeal of R elease O rder.w pd                                     Page 1 of 3
         Case 7:21-cr-01772 Document 262 Filed on 11/09/21 in TXSD Page 2 of 3




                           hereto for all intents and purposes is a copy of the Order of Dismissal from

                           Bastrop County. See Exhibit #1.

             (3)           The Government’s statement that “in essence, Jose Diaz negotiated to

                           receive the marihuana from South Texas” was not proffered or previously

                           disclosed and appears to be conjecture.

             (4)           The Defendant was released on bond on the Bastrop County case in

                           February 2021 and had no issues while on bond.

             On appeal, the Government also discusses the “Pretrial Services Report” and

highlights its concern with the $479,000 education fund. To clarify, it has been proffered

that these funds are open and accessible, and the defendant (with help from his spouse)

diligently disclosed whatever information was requested by U.S. Pretrial Services in

regard to the Defendant’s financial ability. To be clear, those funds were not placed into

an inaccessible trust account, deposited under a straw man’s name, or otherwise secreted

away. Additionally, U.S. Pretrial Services determined that the source of the funds used for

the “education fund” and the source of the funds used to purchase the Defendant’s land,

are the documented proceeds from the sale of his business and business assets.

             IN SUM, the Government’s arguments here on appeal are essentially the same

arguments previously made in the Magistrate Court proceedings. These arguments were

carefully addressed and considered by the Hon. U.S. Magistrate Hacker. It should also be

noted that Judge Hacker’s consideration in this matter began with the detention hearing

on October 28th , after which he took the matter under advisement and tasked U.S. Pretrial


D efendant's R eply to G ovt Appeal of R elease O rder.w pd                                     Page 2 of 3
         Case 7:21-cr-01772 Document 262 Filed on 11/09/21 in TXSD Page 3 of 3




Services to address his concerns. The detention hearing then resumed on November 8 th

after which Judge Hacker pronounced his ruling. The Court then issued a written 6 page

order on November 9th stating the Court’s findings and conclusions in favor of bond.

              Wherefore, the Defendant prays that after notice and hearing, the Court will

AFFIRM the Order (of release) issued by U.S. Magistrate Hacker, and that the

Government’s Appeal and Motion To Stay be in all things denied.




                                                                    Respectfully submitted,

                                                                    LAW OFFICE OF
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                                                                    By: /s/ Reynaldo M. Merino
                                                                       Reynaldo M. Merino
                                                                       State Bar No. 13953250




                                                       CERTIFICATE OF SERVICE

      I hereby certify that on the November 9, 2021, the foregoing Defendant’s Reply to
Government Appeal was delivered to Patricia Cook Profit, Assistant U.S. Attorney,
McAllen, Texas via pat.profit@doj.gov.


                                                                    /s/ Reynaldo M. Merino
                                                                    Reynaldo M. Merino




D efendant's R eply to G ovt Appeal of R elease O rder.w pd                                        Page 3 of 3
